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 6                             UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF NEVADA
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 8   SECURITIES AND EXCHANGE                   Case No.: 2:22-cv-00612
     COMMISSION,
 9                                             PLAINTIFF SECURITIES AND
                  Plaintiff,                   EXCHANGE COMMISSION’S EX
10         vs.                                 PARTE APPLICATION FOR ENTRY
                                               OF TEMPORARY RESTRAINING
11   MATTHEW WADE BEASLEY; BEASLEY             ORDER AND ORDERS: (1) FREEZING
     LAW GROUP PC; JEFFREY J. JUDD;            ASSETS; (2) REQUIRING
12   CHRISTOPHER R. HUMPHRIES; J&J             ACCOUNTINGS; (3) PROHIBITING
     CONSULTING SERVICES, INC., an Alaska      THE DESTRUCTION OF
13   Corporation; J&J CONSULTING               DOCUMENTS; (4) GRANTING
     SERVICES, INC., a Nevada Corporation; J   EXPEDITED DISCOVERY; AND (5)
14   AND J PURCHASING LLC; SHANE M.            ORDER TO SHOW CAUSE RE
     JAGER; JASON M. JONGEWARD; DENNY          PRELIMINARY INJUNCTION
15   SEYBERT; and ROLAND TANNER;
16               Defendants,
17   THE JUDD IRREVOCABLE TRUST; PAJ
     CONSULTING INC; BJ HOLDINGS LLC;
18   STIRLING CONSULTING, L.L.C.; CJ
     INVESTMENTS, LLC; JL2
19   INVESTMENTS, LLC; ROCKING HORSE
     PROPERTIES, LLC; TRIPLE THREAT
20   BASKETBALL, LLC; ACAC LLC;
     ANTHONY MICHAEL ALBERTO, JR.; and
21   MONTY CREW LLC;
22               Relief Defendants.
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 1           Plaintiff Securities and Exchange Commission (the “SEC”) applies, pursuant to Federal
 2   Rule of Civil Procedure 65(b), for a Temporary Restraining Order prohibiting Defendants
 3   Matthew Wade Beasley, Christopher Ronn Humphries, Shane Michael Jager, Jason Myers
 4   Jongeward, Jeffrey Jason Judd, Denny Seybert, Roland Tanner, Beasley Law Group PC, J&J
 5   Consulting Services, Inc. (Alaska), J&J Consulting Services, Inc. (Nevada), and J and J
 6   Purchasing LLC (collectively, “Defendants”) from committing violations of the antifraud and
 7   registration provisions of the federal securities laws or soliciting additional investors into
 8   Defendants’ fraudulent scheme, and for orders freezing Defendants’ and Relief Defendants’
 9   assets, requiring accountings, prohibiting the destruction of documents, and granting expedited
10   discovery, and requiring Defendants to show cause why the Court should not issue a preliminary
11   injunction in the matter. This Application is based on the SEC’s Complaint, as well as its
12   accompanying Memorandum of Points and Authorities, its supporting declarations and exhibits,
13   and any such other evidence and argument as the Court may receive and permit.
14      I.      BASIS FOR WAIVER OF NOTICE UNDER RULE 65(b)

15           Counsel for the SEC has not advised Defendants or Relief Defendants of the date, time,

16   or substance of its Application, and the SEC applies for emergency injunctive relief on an ex

17   parte basis. As supported by the accompanying Rule 65(b) Certification of Tracy S. Combs

18   (attached hereto as Exhibit A), waiver of notice to Defendants and Relief Defendants is

19   appropriate, pursuant to Federal Rule of Civil Procedure 65(b) and Local Rule 7-2(b), because

20   the specific facts set forth in the evidence submitted with the Application establish that

21   immediate and irreparable injury, loss, or damage will result if Defendants and Relief

22   Defendants are notified of the SEC’s Application prior to it being heard. This is true because

23   Defendants have engaged and are continuing to engage in efforts to liquidate and dissipate

24   investor funds.

25           As set forth in more detail in the SEC’s supporting Memorandum of Points and

26   Authorities, and the supporting declarations and evidence, this case involves an offering fraud

27   that one of Defendants, during a well-publicized standoff with the FBI on March 3, 2022,

28   confessed was a “Ponzi scheme.” Bank records and witness testimony obtained in the SEC’s




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 1   investigation confirm that numerous investors have invested millions of dollars in Defendants’
 2   “Purchase Agreement” investment scheme since it began in 2016, based on false and misleading
 3   promises that their investments would generate annual returns of 50 percent from litigation
 4   finance arrangements with attorneys and litigation plaintiffs around the country. In fact, as
 5   Defendant Beasley confessed in March, and as is evidenced by bank records for Beasley’s
 6   attorney trust (“IOLTA”) account and supporting declarations of the same attorneys purportedly
 7   generating profits for the scheme, there was no network of attorneys or litigation plaintiffs
 8   generating profits for investors, and investor money was spent making payments to earlier
 9   investors and promotors, and supporting Defendants’ lavish lifestyles (including purchases of
10   real estate, luxury vehicles, and a private jet).
11           Defendants’ fraudulent scheme continues as Defendants have already attempted (and
12   continue to attempt) to dissipate investor assets. For example, shortly after the FBI standoff with
13   Beasley, Judd, another principal in the scheme, began attempting to sell off his numerous real
14   estate holdings. While Judd has represented (through counsel) that he is doing so in order to

15   preserve those assets for investors, there is no evidence to that effect. Likewise, the bank records

16   of Beasley’s IOLTA account—which appears to be the primary hub for money invested into the

17   scheme—show that of the approximately $490 million in funds flowing through the account

18   since 2016, only around $4 million remain: making it essential that all available additional assets

19   controlled by Defendants and Relief Defendants be frozen to prevent any further dissipation of

20   any remaining investor funds.

21           If Defendants and Relief Defendants are given notice of the Application, it will only

22   further spur them to dissipate and misuse investor funds, potentially placing them beyond the

23   reach of the Court. The danger of asset dissipation and continuing unlawful conduct are each

24   independently accepted bases for granting a temporary restraining order without notice under

25   Rule 65(b). See, e.g., SEC v. Schooler, No. 12-CV-2164-LAB-JMA, 2012 WL 4049956, at *2

26   (S.D. Cal. Sept. 13, 2012); 3BA Int’l LLC v. Lubahn, No. C10-829RAJ, 2010 WL 2105129, at *5

27   (W.D. Wash. May 20, 2010); SEC v. Thomas, No. 219CV01515APGVCF, 2020 WL 4251072, at

28   *3 (D. Nev. June 11, 2020), appeal dismissed sub nom., SEC v. Thomas, No. 20-16549, 2020




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 1   WL 6588635 (9th Cir. Sept. 18, 2020) (refusing to modify preliminary injunction to unfreeze
 2   assets where the SEC showed diversion of funds for personal use, noting that “[A]n individual
 3   who diverts investor funds to personal use ‘is presumably more than capable of placing assets in
 4   his personal possession beyond the reach of a judgment.’”) (citations omitted). The Court’s
 5   immediate intervention thus would help prevent continued violations of the federal securities
 6   laws and preserve the status quo. See Granny Goose Foods, Inc. v. Brotherhood of Teamsters &
 7   Auto Truck Drivers, 415 U.S. 423, 439 (1974) (purpose of a temporary restraining order is
 8   “preserving the status quo and preventing irreparable harm just so long as is necessary to hold a
 9   [preliminary injunction] hearing, and no longer”).
10      II.      RELIEF REQUESTED
11            Because of the ongoing nature of this fraudulent scheme, including through the
12   dissipation of assets, the SEC seeks to temporarily enjoin Defendants from violating Section
13   10(b) of the Securities Exchange Act of 1934 and Rule 10b-5 thereunder [15 U.S.C. § 78j(b); 17
14   C.F.R. § 240.10b-5]; Section 17(a) of the Securities Act of 1933 [15 U.S.C. §§ 77q(a)]; Section

15   5(a) and (c) of the Securities Act [15 U.S.C. § 77e(a), (c)]; and Section 15(a)(1) of the Exchange

16   Act [15 U.S.C. § 78o(a)(1)]. In addition, the SEC requests a temporary injunctions prohibiting

17   Defendants from continuing to offer their “Purchase Agreement” securities and solicit investors

18   into that or any similar investment scheme. Because of the danger that Defendants and Relief

19   Defendants may further dissipate investor funds, the SEC also seeks to freeze the assets of each

20   of the Defendants and the Relief Defendants. The SEC also requests orders requiring

21   Defendants to provide accountings, prohibiting the destruction of documents, and granting

22   expedited discovery. Finally, the SEC requests an order to show cause why a preliminary

23   injunction should not be granted, as set forth in the proposed Order attached hereto as Exhibit B.

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 1   DATED this 13th day of April, 2022.
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                                       _/s/ Tracy S. Combs________________________
 4                                     Tracy S. Combs
                                       Casey R. Fronk
 5
                                       Attorney for Plaintiff
 6                                     SECURITIES AND EXCHANGE COMMISSION

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